                 Case 4:18-cr-00223-RCC-DTF Document 196 Filed 04/29/19 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                             __________      of Arizona
                                                         District of __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No.     CR-18-223-TUC-RCC(DTF)
                     Scott Daniel Warren                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          First Look Media Inc.                                                                                        .


Date:          04/29/2019                                                                /s/ Gregg P. Leslie
                                                                                         Attorney’s signature


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